Case 1:16-cv-00940-SS Document 101-12 Filed 04/20/18 Page 1 of 2




                        Exhibit K
3/21/2018                                         CORP/LLC
                         Case 1:16-cv-00940-SS Document    - File DetailFiled
                                                         101-12          Report 04/20/18 Page 2 of 2




            CORPORATION FILE DETAIL REPORT
             File Number                   69755615

             Entity Name                   WOOD FINKO & THOMPSON P.C.

             Status                        DISSOLVED

             Entity Type                   CORPORATION                  Type of Corp               DOMESTIC BCA

             Incorporation Date            10/30/2014                   State                      ILLINOIS
            (Domestic)

             Agent Name                    MICHAEL J WOOD               Agent Change Date          10/30/2014

             Agent Street Address          73 W MONROE STE 514          President Name & Address   MICHAEL J WOOD

             Agent City                    CHICAGO                      Secretary Name & Address   INVOLUNTARY
                                                                                                   DISSOLUTION 03 10 17

             Agent Zip                     60603                        Duration Date              PERPETUAL

            Annual Report Filing           00/00/0000                   For Year                   2016
            Date

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